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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                        :      Civil Action No. 14-7770 (PGS/LHG)
 KARS 4 KIDS INC.,                                      :
                                                        :      DECLARATION OF BRIGGS M.
            Plaintiff,                                  :         WRIGHT IN SUPPORT OF
                                                        :      PLAINTIFF KARS 4 KIDS INC.’S
 v.                                                     :       MOTION IN LIMINE NO. 1 TO
                                                        :       EXCLUDE THE ENTIRETY OF
 AMERICA CAN!,                                          :       BRYCE R. COOK’S OPINIONS
                                                        :
            Defendant.                                  :                Redacted Version
                                                        :


 I declare as follows:

 1.     I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, and counsel of

 record for Plaintiff Kars 4 Kids Inc. (“Kars 4 Kids”). I make this declaration of my own personal

 knowledge and, if called as a witness, I could and would testify competently to the truth of the

 matters set forth herein.

 2.     Attached hereto as Exhibit 1 is a true and correct copy of the opening expert report of

 Defendant America Can!’s (“America Can”) damages expert witness Bryce R. Cook, dated

 January 16, 2018.

 3.     Attached hereto as Exhibit 2 is a true and correct copy of the reply expert report of

 America Can’s damages expert witness Bryce R. Cook, dated March 1, 2018.

 4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the transcript of

 the deposition of America Can’s damages expert witness Bryce R. Cook, dated March 15, 2018.
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                               EXHIBIT 1
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                         Kars 4 Kids Inc.
                             v.
                         America Can!
                         United States District Court, District of New Jersey
                         Case No. 3:14-cv-07770-PGS-LHG


                         January 16, 2018


                         Expert Report of
                         Bryce R. Cook




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                         Navigant Consulting, Inc.
                         201 East Washington Street, Suite 1700
                         Phoenix, Arizona 85004-2245
                         602.257.0075
                         www.navigant.com
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  EXPERT REPORT

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                                         Attachment A – Documents Considered
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  EXPERT REPORT

 I.     Introduction
 Navigant Consulting was retained by counsel for America Can! to determine the damages or
 monetary remedy resulting from the infringement of the “Cars for Kids” trademark by Kars for Kids
 Inc. (“K4K”).

 In developing my opinions, I have reviewed the pleadings filed in this matter, documents produced
 by the Plaintiff, and documents obtained in the course of performing my research and analysis. A
 list of the documents I considered is included in Attachment A.

 The opinions and analyses presented in this report are based on currently available information.
 If new information becomes available that is relevant to my analysis or opinions, I may supplement
 this report. If this matter proceeds to trial, selected pages of the documents and information
 considered may be used as exhibits. In addition, I may prepare graphical or illustrative exhibits
 based on the contents of this report, the documents and information considered, and on my
 analysis of the documents and information.

 I am a Director with Navigant, a specialized independent consulting firm that employs over 5,000
 professionals and has over 60 offices worldwide. The firm’s consultants include accounting,
 finance, engineering and information technology professionals experienced in the analysis of
 business operations, business valuation, financial and accounting matters, and economic
 damages. I have a Bachelor of Science Degree in Business Management with a concentration in
 finance and a Master’s Degree in Business Administration. I am also a Certified Management
 Accountant and a member of the National Association of Certified Valuation Analysts.

 I am experienced in financial, economic, damage and accounting matters related to the scope of
 work on this matter. I have consulted and testified on numerous engagements involving the
 analysis of economic damage claims, including matters involving trademark infringement and
 valuation of intellectual assets. My résumé is included as Attachment B and includes a list of the
 cases in which I have provided expert testimony. My billing rate on this matter is $445 per hour.

 II.    Background

        A.    America Can! Cars for Kids

 America Can! is a not-for-profit Texas corporation formed in 1988 that operates Dallas Can!
 Academy and various other charter schools in Texas. Dallas Can!, was formed in 1985 to aid
 adjudicated juveniles and later expanded to serve at-risk youth through various educational and
 training programs. In 1996 Dallas Can! opened its first charter school in Dallas and subsequently
 expanded to open additional charter schools throughout Texas and in other states. 1


 1 America Can! 2009 audited financial statements, Note 1; also, https://www.texanscan.org/about-our-story/



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 Beginning in 1989, America Can! took steps to promote its automobile and watercraft resale
 program and boost its charitable fundraising activities through use of the assumed names Cars
 for Kids and Kars for Kids. Since at least 1989, America Can! has continuously and consistently
 used its Cars For Kids Mark (the “Mark”) in interstate commerce and in connection with its
 charitable fund raising services. 2 America Can! Cars for Kids (“CFK”) was formed in 1992 as the
 fundraising arm of the charter-holding organization, owning and operating the car donation and
 auction program that America Can! started in 1989. 3

 CFK accepts donations in every state but the majority of its donations and sales have been in
 Texas. CFK’s vehicle donations peaked in 2004 and have generally trended downward since
 then, as shown in the following chart. 4


                                  America Can! Vehicle Donations (Units)
         18,000

         16,000

         14,000

         12,000

         10,000

          8,000

          6,000

          4,000

          2,000

              -
                  1997    1999    2001     2003     2005       2007   2009    2011    2013     2015    2017E



 As shown above, CFK’s donations declined sharply in 2005, partially rebounded in 2006 through
 2009, then declined sharply again in 2010 where they remained at low levels for the next five
 years until experiencing a strong uptick in growth in 2016. The 2010 decline and depressed
 donation levels reflect, in part, the effects of the recession and increased value of used cars. 5
 However, as will be shown in the following section, K4K’s market entry and growth in each of



 2 Answer and Counterclaim, p. 17.
 3 America Can! Cars for Kids 2016 audited financial statements, Note 1; http://www.americacan.org/aboutus.asp;

   Answer and Counterclaim, p. 17.
 4
   Source: “CFK Sales 2004 – 2017.xls” and “Old Database Records.xls.” 2017 estimated by applying previous 3-year
   Jan-Aug units as a percent of total (62.6%) to Jan-Aug 2017 units.
 5 https://www.thoughtco.com/used-car-sales-figures-3308387 “Over the three calendar years from 2009 to 2012, used

   car sales would jump more than 14%. The recession hadn't quite ended for a good portion of that time but people
   turned to used cars instead of buying new cars because of the better values, better vehicles, and strong certified
   pre-owned programs.”

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 CFK’s markets, along with its high advertising spend, likely had an effect on CFK’s donations and
 inability to return to previous levels.

 CFK’s decline in donations was more pronounced in states outside of Texas, as illustrated in the
 following chart. 6


                                    America Can! Vehicle Donations (Units)
        18,000

        16,000
                                           Total

        14,000

        12,000

        10,000

         8,000

         6,000                              Texas
         4,000

         2,000
                        All other
             -
                 1997    1999       2001    2003    2005       2007    2009   2011   2013     2015   2017E



 As shown above, after the sharp one-year decline in 2005, Texas donations began increasing
 through 2009. Out-of-state donations – reflected in the gap between the Texas and Total lines
 and in the “All other” line – were also growing in these early years, and at a faster rate than Texas
 through 2007. However, out-of-state donations started declining in 2008, and after the 2010 drop
 almost disappeared entirely. After peaking above the 4,000-unit level in 2007, CFK’s nationwide
 out-of-state donations declined to a level of only several hundred units, a fraction of its pre-2010
 levels, and have not rebounded. As described in the next section, this decline corresponds with
 K4K’s growth in the same non-Texas markets.

 America Can! has expended significant resources in marketing and advertising to promote its
 CARS FOR KIDS Mark and the underlying automobile and watercraft donation program including,
 but not limited to, print and broadcast advertising, billboards, door hangings, and other publicity
 methods. 7 The following table summarizes the advertising and promotion expense CFK has
 expended from 2008 through 2014.




 6 Source: “CFK Sales 2004 – 2017.xls” and “Old Database Records.xls.” 2017 estimated by applying previous 3-year

  Jan-Aug units as a percent of total (62.6%) to Jan-Aug 2017 units.
 7 Answer and Counterclaim, p. 17.



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                                               Table 1 – America Can!
                                                Advertising expense 8
                                               2008       $ 4,292,981
                                               2009          3,136,594
                                               2010          2,667,363
                                               2011          3,568,832
                                               2012          3,246,242
                                               2013          2,761,304
                                               2014          2,301,967
                                                Total       $ 21,975,283

 For its Texas vehicle donation program, CFK handles vehicle intake, title work, inspection,
 mechanical repair (if needed) and the auction process. For donations outside of Texas, CFK
 outsources these activities to Copart. CFK’s annual auction and sales revenue from its vehicle
 donation operation have generally been in the range of $8 million to $10 million, as shown in the
 chart below. 9


                                       America Can! Revenue ($millions)
              $12.0

              $10.0

               $8.0

               $6.0

               $4.0

               $2.0

                 $-
                      2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017E




 CFK’s auction and sales revenue did not decline to the same degree as donation units in 2010
 and following years because CFK realized a much lower auction/sales price on donated vehicles
 outside of Texas than on vehicles within Texas. 10 Therefore, with the loss of out-of-state
 donations, its average auction/sales price per vehicle increased, thereby providing some offset to
 the donations lost during that period.


 8 Source: America Can! Form 990’s
 9 Source: “CFK Sales 2004 – 2017.xls” and “Old Database Records.xls.” 2017 estimated by applying previous 3-year

  Jan-Aug sales as a percent of total (62.6%) to Jan-Aug 2017 sales.
 10 Some of the lower price is due to the $129 fee Copart deducts for handling the intake and auction activities;

  however, this fee only accounts for about half the difference.

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       B.    Kars 4 Kids

K4K is a national organization dedicated to addressing the educational, material, emotional and
spiritual needs of disadvantaged Jewish children and their families. K4K is a registered national,
501(c)(3), non-profit organization, which was established in 2000. 11

K4K claims to have begun using the KARS 4 KIDS marks “since at least 1998” but did not obtain
a trademark registration until much later. It was unsuccessful in registering the KARS 4 KIDS
mark but was able register 1-877-KARS-4-KIDS in April 2012. 12 In addition, K4K claims to have
offered a website located at www.kars4kids.com since 2002. 13 In or about August of 2003,
America Can! learned of K4K’s use of the phrase “Kars 4 Kids” in connection with its automobile
donation program through an advertisement that appeared in the Dallas Morning News. Because
K4K’s use of the phrase “Kars 4 Kids” was phonetically identical to America Can!’s CARS FOR
KIDS Mark and because both entities appeared to be operating similar automobile donation
programs aimed at the same channels of commerce, America Can! sent a Cease and Desist
Letter to K4K in August 2003. 14

America Can! believes that K4K ceased using the “Kars 4 Kids” phrase in America Can!’s home
state of Texas following the Cease and Desist Letter; however, K4K has continued to use the
phrase in its advertising outside of Texas. As shown in the following table, K4K appears to have
significantly outspent CFK in advertising in every year since at least 2008.

                              Table 2 – Comparison of Advertising Expense 15
                                                   K4K             CFK
                                   2004                                  N/A
                                   2005                                  N/A
                                   2006                                  N/A
                                   2007                                  N/A
                                   2008                         $ 4,292,981
                                   2009                            3,136,594
                                   2010                            2,667,363
                                   2011                            3,568,832
                                   2012                            3,246,242
                                   2013                            2,761,304
                                   2014                            2,301,967
                              2008-2014 Total                            $ 21,975,283
                                  All years                              $ 21,975,283


11 https://www.kars4kids.org/joy.php; JOY audited 2010 financial statement, Note 1; 2013 Form 990 for JOY.
12 Complaint, p. 4; Answer and Counterclaim, pp. 19-20
13 Per the Internet Archive Wayback Machine, October 2002 is the earliest capture of kars4kids.org.
14 Answer and Counterclaim, pp. 18-19.
15 Sources: K4K0085313.xls, America Can! Form 990’s



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K4K’s donations followed a similar pattern as CFK with a peak in 2009 followed by declining
donations in 2010 through 2012, which indicates the recession and used-car market had a similar
effect on both companies. However, K4K’s donations recovered much more quickly than CFK’s,
which did not experience an increase until 2016. CFK’s slower recovery and inability to regain its
past level of donations appears to be due to K4K’s comparatively high advertising spend and
significant donation growth in each location it entered.

Given the similarity of each organization’s mission and car donation program – vehicle donations
to benefit underprivileged kids; advertising via internet, radio and print; solicitation of donations in
all 50 states – there is likely to be consumer confusion based on the similarity of the marks used
by each organization. Indeed, I found evidence of consumer confusion in many of the donor
comments contained in various K4K documents, including the K4K donations database, two
instances of which are as follows: 20

         •    “Confused with Cars for Kids.”
         •    “Was picked up by Copart for Cars for Kids, not us.”

III. Damages / Monetary Remedy
Under the Lanham Act, recovery for trademark infringement may include:

         (1) defendant’s profits, (2) any damages sustained by the plaintiff, and (3) the costs of the
         action. The court shall assess such profits and damages or cause the same to be
         assessed under its direction. In assessing profits the plaintiff shall be required to prove
         defendant’s sales only; defendant must prove all elements of cost or deduction claimed.
         In assessing damages the court may enter judgment, according to the circumstances of
         the case, for any sum above the amount found as actual damages, not exceeding three
         times such amount. 21

       A.     K4K’s Profits

As a 501(c)(3) non-profit entity, K4K is required to file annual statements (form 990) of income
and expense with the IRS. From K4K’s annual form 990’s, I was able to obtain the revenue it
earned from its vehicle donation operation over the last ten years. I compared the Form 990
revenue amounts to the auction sales revenue from the K4K database and to the revenue
reported in the JOY For Our Youth 2010 audited financial statement (the only audited statement
available).

Note 1 to this audited financial statement includes the following explanations regarding donations
and revenue: “Donations of used cars, which account for substantially all of the organizations’
revenue, are valued at the net proceeds of subsequent sales of such vehicles. The value of other

20 Source: K4K0000090.xls. See also, 04_K4K0527662_image through 60_K4K0532002_image.
21 15 U.S. Code § 1117 - Recovery for violation of rights



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donated goods and services are not reflected in the financial statements… The organizations’
primary source of revenue is derived from donations of used vehicles, which are sold at auction
by independent car dealers.” This note indicates that (1) substantially all of the revenue relates to
its car donation program, and (2) reported revenue is net of the fees K4K pays the independent
dealers who auction the cars and therefore reflects “net proceeds” to K4K. These results are
summarized below.

                             Table 4 – K4K Revenue from Vehicle Donations
                         Year        Form 990           Database            Audited
                         2008       $ 23,003,060
                         2009          24,653,912
                         2010          29,130,893                        $ 29,130,893
                         2011          29,976,125
                         2012          26,964,821
                         2013          28,229,162
                         2014          34,756,266
                         2015          39,071,455
                         2016          44,383,024
                        2017 22       48,007,066
                         Total     $ 328,175,784

Based on the above summary of revenue, America Can!’s claim for K4K’s profits on sales made
using the infringing mark total $328,175,784.

      B.     Actual Damages

America Can! believes that K4K’s confusingly similar Mark has caused confusion in the
marketplace and resulted in CFK losing donations. At this time, I am not able to determine the
amount of lost donations attributable to K4K’s infringement. However, there are other methods
that have been accepted as measures of damages that may be useful to the trier of fact.

Reasonable Royalty

One such method is the royalty that K4K would have had to pay if CFK had agreed to license the
Mark. However, given that both organizations compete directly for the same donations in the
same markets, CFK would be unwilling to license the Mark for anything less than the incremental
profit it earns on its donations. Nevertheless, in a hypothetical negotiation, as is used in
determining reasonable royalties in patent matters, the assumption is that the parties would reach
an agreement as opposed to the defendant infringing or leaving the market altogether. In this
matter neither party has licensed its trademarks, and I have not found any reasonably-comparable


22 2017 revenue estimated by applying latest 5-year (2011-2016) CAGR (8.2%) to 2016 revenue



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third-party license agreements. Therefore, the best approach for determining a reasonable royalty
would be to determine a split of K4K’s incremental profit on infringing donations based on a
Georgia-Pacific-type analysis. However, because K4K has not produced detailed information on
its expenses, I am unable to perform the analysis to determine incremental profit. Assuming K4K
produces sufficiently detailed expense information in its rebuttal report, I may be able to use that
information to assess incremental profit and a reasonable royalty.

Corrective Advertising

As shown in Table 2 above, K4K has spent over $75 million in advertising that wrongfully used
the Mark from 2004 through 2014 (the last full year available). One measure of damages could
include the cost of corrective advertising America Can! would have to do to counter the $75 million
in advertising K4K has done. At this time, I do not have an estimate of what amount of corrective
advertising would be necessary to correct the confusion that has resulted in the marketplace;
however, the trier of fact may find the total advertising spend useful as a starting point for
addressing this method.




                                               _______________________
                                               Bryce R. Cook




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   Bryce R. Cook


                                             Bryce R. Cook

 Bryce R. Cook                               Current Position
 Director
                                             Bryce is a Director with Navigant Consulting, Inc. As part of
 Navigant Consulting                         Navigant’s Litigation and Investigations practice, Bryce
 The Collier Center; Suite 1700              consults on business matters involving complex financial,
 201 E. Washington St.
 Phoenix, AZ 85004-2245                      accounting and economic issues, particularly as they relate to
 Tel: 602.528.8061 (direct)                  economic damages or financial investigations. Bryce is a
 Fax: 602.254.6163                           Certified Management Accountant and a member of the
 bcook@navigantconsulting.com                National Association of Certified Valuation Analysts.

 Professional History
                                             Professional Experience
 • Navigant Consulting, Inc. – Present
 • Tucker Alan Inc. – 1994 to 2004           Bryce has extensive experience in matters involving
 • Peterson Consulting Limited               computation of economic damages, including breach of
   Partnership – 1987-1994
                                             contract, infringement of intellectual property rights,
 • Economic Analysis Corporation – 1986-     professional malpractice, fraud and other causes of action. He
   1987
                                             has performed damage analyses that involve lost profits,
 Education
                                             increased costs, diminution of business value and deepening
                                             insolvency, among others. He has consulted in a variety of
 • Master of Business Administration, with
   a concentration in finance and            industries including:
   economics, Arizona State University
 • Bachelor of Science degree in Business      •   Financial institutions
   Management, Brigham Young                   •   Healthcare/pharmaceutical
   University                                  •   Retail
 • Certified Management Accountant             •   Utilities
                                               •   Real estate and construction
 Professional Associations
                                               •   Insurance
 • Institute of Management Accountants
                                               •   Computers
 • National Association of Certified
   Valuation Analysts
                                               •   Automobile
 • Licensing Executives Society
                                               •   Restaurant and fast food
 • State Bar of Arizona, Intellectual
                                               •   Agricultural
   Property Section                            •   Oil and gas


                                             Bryce has given expert testimony on damages in federal and
                                             state courts and in arbitration. He has lectured to the Arizona
                                             State Bar on damages issues and has made presentations on
                                             damages to law firms and at professional society conferences.




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  Bryce R. Cook

 Selected Experience
 Financial Analysis and Commercial Damages

  Performed analyses of economic damages and other special-purpose financial investigations of
  companies in a variety of industries. Damages were based on such causes of action as breach of
  contract, dealer termination, professional malpractice, lender liability and deepening insolvency, to
  name a few. Case examples include:

  » Evaluated numerous auditor malpractice claims brought by trustees, investors, government
    agencies and other third parties. Performed forensic analysis to determine the causes of a
    company’s failure or reasons for the decline in value of its securities. Analyzed the company’s
    investments and transactions over time to determine what would have been avoided given the
    plaintiff’s liability scenario.

  » Evaluated a real estate developer’s lost profit claim stemming from the filing of a lis pendens on
    one of his properties. Analyzed property values and economic indicators affecting Arizona real
    estate over the relevant time period. Modeled cash flow projections and performed sensitivity
    analysis under varying marketing and economic scenarios to determine the most likely disposition
    of his property holdings.

  » Determined consequential damages to high-tech manufacturing company stemming from
    insurance company's failure to pay on a claim. Damages included lost profits and lost cost
    savings due to inability to take advantage of business opportunities.

  » Reconstructed the capital accounts of a dissolved physicians practice to determine the ending
    capital owed to/by the various partners based on a review and analysis of five years worth of
    transactions records, accounting data and tax records. This analysis included determining the
    relative value of services provided, real estate contributed, and other resources contributed or
    used that flowed through the partnership over this time period.

 Valuation

  Performed business valuations for purposes of damage claims, solvency analyses and transaction
  disputes. Valuations have included public and privately held companies, franchises, trademarks and
  loan portfolios. Case examples include:

  » Valued a sub-prime mortgage wholesaler whose general partner terminated the partnership.
    Entailed analyzing the company’s past performance, management skill, and industry norms.
    Performed projections of loan production volume, origination points and fees, sales premiums,
    and general and administrative expenses.

  » Valued the trademark of a restaurant chain that was licensed to operators in Arizona and
    California. Analyzed factors that affected the ability of the mark to generate income, including
    recognition and reputation, historical financial performance, legal status, licensee characteristics
    and economic/industry conditions.




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  Bryce R. Cook

  » Performed a valuation estimate of the lease price of a lithotripsy facility operated by a physician’s
    group. The lease structure included compensation for both equipment and services provided by
    the physicians. Work involved researching comparable companies, fee and cost structures,
    revenue per patient and contractual agreements with hospitals.

  » Performed stock valuation of a closely held manufacturing firm being sued by a minority
    shareholder wanting to liquidate his interest. Determined discounts for lack of marketability and
    lack of control.

 Intellectual Property

  Performed damage analyses stemming from infringement of intellectual property rights. This work
  has included determining lost profits, reasonable royalty, accounting of profits and deductible costs,
  and the cost of corrective advertising. Case examples include:

  » Analyzed a company’s damage claim stemming from the alleged misappropriation of its trade
    secrets and proprietary technology relating to a medical waste destruction process. In assessing
    the value of the trade secrets, performed research on the industry and commercial viability of the
    technology. Evaluated the company’s past transactions involving the technology and determined
    a reasonable royalty assuming a hypothetical licensing negotiation between the parties.

  » Calculated a reasonable royalty and the economic harm sustained by a patentee whose patent
    was infringed by a tool manufacturer and distributor. Analyzed various factors relevant to
    determining a reasonable royalty in this matter, including the bargaining positions and economic
    expectations of both parties prior to the infringement.

  » Performed an analysis of a trademark infringer’s accounting records to determine its costs
    associated with manufacturing and selling counterfeit branded motorcycles. Evaluated infringer’s
    own analysis of costs and identified inconsistencies and errors.

  » Analyzed the lost profits of an international tour operator due to a competitor’s trademark
    infringement and false advertising. Performed a detailed analysis of economic, industry and
    company-specific factors to determine to what extent, if any, these factors contributed to the
    decline in the infringed company’s profits. Conducted extensive interviews of travel agents to
    determine the likelihood of consumer confusion in the industry and the effect of the advertising
    claims on consumers.

 Healthcare

  Performed various analyses of healthcare provider financial operations, rate structures, profitability
  and costs of providing services. Have performed work on behalf of state agencies, hospitals and
  physicians. Case examples include:

  » Performed a variety of consulting projects for the State of California, Department of Corrections,
    relating to inmate healthcare. One project entailed analyzing a provider hospital’s cost structure,
    profitability and financial condition in a rate dispute. In another project, computed statistics from
    health-care budgeting and expenditure data and compared results with other state departments
    of corrections.




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  Bryce R. Cook

  » Analyzed the financial operations and patient volume of a laser eye clinic to determine the costs
    and profits associated with treating the former patients of a large, national laser eye surgery
    company that went bankrupt. Analyzed the accounting records of a related, surviving clinic to
    determine the ownership of accounts and moneys owed between the two entities.

  » Analyzed adequacy of Medicaid reimbursements to health-care providers in a lawsuit against the
    state of Oregon. Conducted review of providers' costs and constructed a computer model to
    analyze variables affecting reimbursement formula.

  » Prepared a Boren Amendment “findings” report and analysis to determine adequacy of Medicaid
    reimbursement of hospital costs in the state of Illinois. Required significant statistical and
    quantitative analysis of hospital costs.

  » Reviewed lost profit claim of the operator of a planned medical clinic in a lender liability lawsuit.
    Created a financial model to generate alternative business scenarios based on claimant's
    historical financial record operating similar ventures.


 Testimony History

 American Tech Services, Inc. v. Raytheon Service Company, et al.
 U.S. District Court, Phoenix, AZ
     • Deposition: January 1997
     • Trial: May 1997

 Lamb Architects & Associates, Inc. v. Wingate Inns L.P.
 American Arbitration Association, Phoenix, AZ
    • Deposition: September 1997
    • Arbitration: September 1997

 H-D Michigan, Inc. (Harley Davidson) v. Bikers Dream, Inc., et al.
 U.S. District Court, Los Angeles, CA, 1998
     • Declaration: April 1998

 Process Construction, Inc. v. The Tartaric Manufacturing Corporation, et al.
 Superior Court of California, Stanislaus County
     • Deposition: May 1999
     • Deposition: August 1999

 Robert Smith v. Casa Grande/I-10 Land Partners Joint Venture II, et al.
 Superior Court of Arizona, Maricopa County
    • Declaration: September 1999
    • Deposition: July 2001
    • Trial: October 2001

 Leasco, Inc., Debtor v. Santo Domingo & Company, Inc., et al.
 U.S. Bankruptcy Court, Phoenix, AZ
     • Deposition: May 2004
     • Trial: June 2004



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  Bryce R. Cook

 Next Phase Enterprises v. Action Performance Companies
 Superior Court of Arizona, Maricopa County
    • Deposition: July 2007

 Snikpoh Investments LP v. Inilex, Inc., et al.
 American Arbitration Association, Phoenix, AZ
     • Deposition: August 2007

 Eurofresh/Travelers v. Town of Snowflake, Arizona, et al.
 Superior Court of Arizona, Navajo County
    • Deposition: October 2007
    • Trial: February 2010

 Certain Underwriters at Lloyd’s, London v. Delta Diversified Enterprises, Inc.
 Superior Court of Arizona, Maricopa County
     • Deposition: August 2008

 Pipeline Data, Inc. adv. L60, Incorporated
 Superior Court of Arizona, Maricopa County
     • Deposition: February 2009

 Richard Kawar v. JP Morgan Chase Bank N.A.
 U.S. District Court, Phoenix, AZ
     • Deposition: February 2009

 Griffin v. Griffin
 Superior Court of Arizona, Maricopa County
      • Deposition: April 2009
      • Trial: December 2009

 Taser International, Inc. v. Stinger Systems, Inc.
 U.S. District Court, Phoenix, AZ
     • Deposition: July 2009

 Archetype Associates, Inc. v. The Frank Lloyd Wright Foundation, et al.
 U.S. District Court, Phoenix, AZ
     • Deposition: September 2009

 Bachmann v. BBK Tobacco & Foods, Inc.
 American Arbitration Association, Phoenix, AZ
    • Arbitration: January 2010

 The Braun Corporation v. Vantage Mobility International, LLC
 U.S. District Court, Northern District of Indiana
     • Deposition: January 2010

 Dunn v. Western Neurosurgery, Ltd.
 American Arbitration Association, Tucson, AZ
    • Arbitration: February 2010



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 Medicis Pharmaceutical Corporation v. Acella Pharmaceuticals, LLC
 U.S. District Court, District of Arizona
     • Deposition: June 2011

 RB Insurance Group, LLC v. Sterling Life Insurance Company
 Arbitration, Phoenix, AZ
     • Deposition: October 2011
     • Arbitration: October 2011

 Nikolic v. Pepperidge Farm, Inc.
 Superior Court of Arizona, Maricopa County
     • Deposition: August 2012
     • Trial: January 2013

 Syntrix BioSystems, Inc. v. Illumina, Inc.
 U.S. District Court, Western District of Washington
     • Deposition: December 2012
     • Trial: March 2013

 Everett Laboratories, Inc. v. Acella Pharmaceuticals, LLC
 U.S. District Court, District of New Jersey
     • Deposition: August 2013
     • Deposition: August 2013
     • Preliminary injunction hearing: August 2013

 Full Tilt, LLC v. Tilted Kilt Franchise Operating, LLC
 American Arbitration Association, Phoenix, AZ
      • Deposition: August 2013
      • Arbitration: September 2013

 AA & Saba Consultants, Inc. v. TASER International, Inc.
 Superior Court of Arizona, Maricopa County
    • Trial: February 2014

 Barnet, et al. v. Medical Management Resources Group, LLC, et al.
 Superior Court of Arizona, Maricopa County
    • Deposition: March 2014

 Bonsall v. Ryley, Carlock & Applewhite
 Superior Court of Arizona, Maricopa County
    • Deposition: May 2014

 Rowpar Pharmaceuticals, Inc. v. Lornamead Brands, Inc..
 U.S. District Court, District of Arizona
     • Deposition: July 2014

 BNC National Bank, et al. v. HUB International, et al.
 Superior Court of Arizona, Maricopa County
    • Deposition: August 2014
    • Trial: April-May 2015


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  Bryce R. Cook

 Rural/Metro Corporation adv. American Medical Response, LLC
 Arizona Office of Administrative Hearings
     • Hearing: September 2014

 Stone Creek, Inc. v. Omnia Italian Design, Inc. et al.
 U.S. District Court, District of Arizona
     • Deposition: April 2015
     • Trial: October 2015

 Irish Restaurant and Pub Company, et al. v. Concast, Inc., et al.
 U.S. Bankruptcy Court, District of Arizona
      • Deposition: May 2015

 AZ Sourcing Land Holding, LLC v. AZ Sourcing, LLC, et al.
 Private Arbitration - Phoenix, Arizona
     • Deposition: September 2015
     • Arbitration: October 2015

 Cardiovascular Consultants, LTD, v. Lee M. Ugol, et al.
 Superior Court of Arizona, Maricopa County
    • Deposition: December 2015

 Paramount Petroleum Corporation v. International Surfacing Systems, et al.
 Superior Court of California, County of Sacramento
    • Deposition: March 2016

 Polylast Systems, LLC v. Equiflex, et al.
 Superior Court of Arizona, Maricopa County
     • Deposition: July 2016

 Bank of the West v. TriSports.com, et al.
 Superior Court of Arizona, Pima County
    • Deposition: December 2016
    • Trial: May 2017

 Hurry, et al. v. Financial Industry Regulatory Authority, et al.
 U.S. District Court, District of Arizona
     • Deposition: February 28, 2017

 Zoetis LLC v. Roadrunner Pharmacy, Inc.
 U.S. District Court, District of New Jersey
     • Deposition: April 2017

 Schires (Goldwater Institute) v. City of Peoria, et al.
 Superior Court of Arizona, Maricopa County
    • Deposition: September 2017




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                             EXHIBIT 2
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                      Kars 4 Kids Inc.
                          v.
                      America Can!
                      United States District Court, District of New Jersey
                      Case No. 3:14-cv-07770-PGS-LHG


                      March 1, 2018


                      Expert Report of
                      Bryce R. Cook




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                      Navigant Consulting, Inc.
                      201 East Washington Street, Suite 1700
                      Phoenix, Arizona 85004-2245
                      602.257.0075
                      www.navigant.com
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I.     Introduction
Navigant Consulting was retained by counsel for America Can! to determine the damages or
monetary remedy resulting from the infringement of the “Cars for Kids” trademark by Kars 4 Kids
Inc. (“K4K”), as presented in my January 16, 2018 expert report. In this current report, I am
responding to the rebuttal report of David Hall, dated February 15, 2018.

In developing my opinions, I have reviewed the pleadings filed in this matter, documents produced
by the Plaintiff, and documents obtained in the course of performing my research and analysis. A
list of the documents I considered is included in Attachment A.

The opinions and analyses presented in this report are based on currently available information.
If new information becomes available that is relevant to my analysis or opinions, I may supplement
this report. If this matter proceeds to trial, selected pages of the documents and information
considered may be used as exhibits. In addition, I may prepare graphical or illustrative exhibits
based on the contents of this report, the documents and information considered, and on my
analysis of the documents and information.

See my previous expert report for my qualifications and prior expert testimony.

II.    Analysis of Mr. Hall’s Report

       A.     Substantiation of “Defendant’s Profits” Remedy

Mr. Hall claims that my accounting of K4K’s profits is inaccurate and unreliable, yet he uses the
same source and numbers I relied on in performing his “apportionment of Kars 4 Kids’ vehicle
donation revenue less expenses.” In an attempt to discredit my accounting of Defendant’s Profits,
he makes a number of argumentative, invective-based claims, none of which invalidate my
analysis but which instead serve to further substantiate the monetary remedy America Can is
seeking. His rebuttal claims are addressed below.

Semantic Argument over use of the Term “Profits”

Mr. Hall makes a novel legal defense in response to my accounting of K4K’s profits, claiming that
it is misleading and inaccurate because “Kars 4 Kids is a non-profit entity and as such, does not
earn ‘profits on sales.’” He also claims that “because Kars 4 Kids is a non-profit entity, there are
no profits to apportion.” 1 Based on this semantic argument, all non-profit entities would be immune
from liability under Lanham Act claims for “Defendant’s Profits” (the term used in 15 U.S. Code §
1117) because, according to Mr. Hall, a nonprofit entity “does not earn profits on sales.”




1 Hall report, ¶¶17, 18, 30.



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However, assuming Congress’s use of the term “profits” in the Lanham Act was meant to describe
financial gain (i.e., revenues less expenses) 2 and not intended to exclude infringing nonprofit
organizations from liability, there is nothing inaccurate or misleading about my use of the term or
my quantification of K4K’s revenues as required under the Lanham Act. 3 Indeed, Mr. Hall used
my numbers as the starting point in his own “apportionment of Kars 4 Kids’ vehicle donation
revenue less expenses.” 4 In addition, my accounting was in no way misleading since it explicitly
stated the source and basis for the amount claimed (“summary of revenue”) 5 and met the
trademark registrant’s burden of “proving defendant’s sales only” under the Lanham Act. Mr. Hall’s
claiming that my statement was misleading is a gross mischaracterization, if not outright
dishonest, or demonstrates lack of experience and understanding of trademark matters.

Diversion of Donations from America Can to K4K

Mr. Hall claims that I have not adequately demonstrated that vehicle donations were diverted from
America Can to K4K and takes issue with my opinion that “K4K’s market entry and growth in each
of CFK’s markets, along with its high advertising spend, likely had an effect on CFK’s donations
and inability to return to previous levels.” 6 In criticizing this opinion, he appears to be unaware
that the Third Circuit used similar language in addressing the second factor in the Banjo Buddies
case, which he cites. In addressing whether to award Defendant’s Profits, the court found: “It is
likely that [defendant’s] conduct diverted sales from Banjo Buddies” on the basis that the
marketing “was confusingly similar” and the “markets for the two products were ‘either the same
or substantially overlapping.’ ” 7

Mr. Hall also criticizes the fact that I was unable to determine lost donations attributable to the
infringement and that this “undermines” my basis for an accounting of Defendant’s Profits. 8 This
criticism demonstrates his lack of understanding of trademark infringement remedies, particularly
recovery of Defendant’s Profits. One reason this remedy exists is because it may not be possible
for a plaintiff to determine the amount of actual damage caused by a defendant in these matters. 9


2 Per the online Oxford dictionary, the definition of “profit” is: “a financial gain, especially the difference between the

amount earned and the amount spent in buying, operating, or producing something.”
https://en.oxforddictionaries.com/definition/profit
3 15 U.S. Code § 1117 - Recovery for violation of rights. For applicability of this statute to a non-profit entity, see

Dreamcatcher Software Dev., LLC v. Pop Warner Little Scholars, Inc., 298 F. Supp. 2d 276 (D. Conn. 2004): “The
clear text of the statute indicates that 15 U.S.C. 1125(a)(1) applies to ‘any person.’ Thus, the fact that a specific
defendant is a not-for-profit organization does not protect it from liability under the plain language of the statute.”
4 Hall report, ¶¶27, 33, Attachment 1.
5 Cook report, p. 9: “Based on the above summary of revenue, America Can!’s claim for K4K’s profits on sales

made using the infringing mark total $328,175,784.” The revenue amount shown is actually akin to “gross profit” since
it is the net proceeds (selling price less fees paid to the auction company) K4K receives.
6 Hall report, ¶¶20, 21, 57; Cook report, pp. 2-3.
7
   Banjo Buddies, Inc. v. Joseph F. Renosky, Appellant, 399 F.3d 168 (3d Cir. 2005) (emphasis added).
8 Hall report, ¶¶20-23.
9 See, for instance, Venture Tape Corp. v. McGills Glass Warehouse, F.3d 56 (1st Cir. 2008): “McGills first

complains that Venture did not even attempt to show actual harm, and suggests that this failure means that there was
no actual harm. Our case law does not support that inference. When a mark owner cannot prove actual damages
attributable to the infringer's misconduct (e.g., specific instances of lost sales), its recovery of an equitable share of

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The inability to quantify the number of lost or “diverted” donations does not mean that there were
no lost or diverted donations. It is inescapable that K4K’s entry into the vehicle-donation market
took donations that otherwise would have gone to America Can. The two organizations are direct
competitors in the same geographic markets, use the same or similar advertising methods,
engage in charitable giving to kids, and compete for a finite number of vehicle donations. 10 To
assume otherwise, one would have to assume that without K4K in the vehicle-donation market,
America Can would not have picked up a single K4K donation – all of K4K’s donations would
have gone to other car-donation charities or never would have been made.

I have not opined that every donation obtained by K4K was a lost donation to America Can. I
recognize that some of the decline in, or loss of, America Can’s vehicle donations is likely due to
other factors (e.g., the economy, the existence of other vehicle-donation charities, America Can’s
own advertising spend), which is why I am unable to quantify a claim for lost donations and profits
solely attributable to K4K’s actions. However, there is more than adequate evidence to conclude
that K4K likely diverted donations from America Can, which, per Banjo Buddies, is a factor to be
considered in an award of Defendant’s Profits.

Deduction of Expenses

Mr. Hall criticizes, and again calls “misleading,” my accounting of Defendant’s Profits because I
did not deduct expenses or apportion the profit related to “non-trademark factors.” 11 This criticism
shows either a lack of familiarity with trademark infringement issues or disingenuousness, as the
Lanham Act explicitly puts the burden of proving expenses and apportionment on the defendant.

Mr. Hall provided no analysis of his claimed deductions but simply accepted K4K’s total reported
expenses, which he put into two broad categories and which reduced its bottom-line profit 12 to
only 1.4% of its total net revenue, as summarized below.




the infringer's profits serves, inter alia, as a "rough measure" of the likely harm that the mark owner incurred because
of the infringement, while also preventing the infringer's unjust enrichment and deterring further infringement.”
See also, Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1408 (9th Cir. 1993): “Because proof of actual damage is
often difficult, a court may award damages based on defendant's profits on the theory of unjust enrichment. Id. at 511.
See also Bandag, Inc., 750 F.2d at 918. The district court gave Lindy the opportunity to prove its damages under both
methods: actual damages in the form of its lost profits, or if that proved too difficult, through proof of Bic's unjust
enrichment in the form of Bic's profits.”
See also, Playboy Enterprises v. PK Sorren Export Co., 546 F. Supp. 987 (S.D. Fla. 1982): “The plaintiff need not
demonstrate any actual damages in order to obtain an accounting for profits.”
10 In Banjo Buddies, these are the kinds of business and marketing facts the Court considered in concluding that

sales were diverted.
11 Hall report, ¶24.
12 Because “profit” is a familiar term to most people and the nonprofit-accounting term “change in net assets” is not, I

will use the terms “profit” and “Defendant’s Profits” throughout this report to refer to K4K’s revenue less expenses.

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                                Table 1 – Summary of Mr. Hall’s Accounting of
                                          K4K’s Profits, 2008-2016 13
                              Vehicle donation revenue                     $ 280,169,000
                              Functional Expenses:
                               Fundraising portion of advertising
                               and promotion                                    83,186,000
                                All other functional expenses                  192,943,000
                                 Total functional expenses                     276,129,000
                              Profit                                       $     4,040,000


Mr. Hall assumes, without any analysis or support, that K4K’s total reported expenses were
“incurred in generating vehicle donation revenue.” 14 He failed to provide any detail of what his
expense categories consisted of, why he broke them out that way, or how they related to K4K’s
car donation program. He also failed to include any revenue and expense for 2017, which he
could have obtained from his client even if its 2017 Form 990 has not been filed. In my experience,
Mr. Hall’s expense deductions do not adequately meet the defendant’s burden, per the Lanham
Act, to “prove all elements of cost or deduction claimed,” and should therefore be disregarded.

In the Banjo Buddies 15 case cited by Mr. Hall, the court held that the defendant “failed to satisfy
his burden of proof regarding costs and deductions . . . the court observed that the [defendant
expert] report's summary of direct expenses . . . was sorely lacking in detail, lumping costs into
six broad categories with no explanation of what specific expenses those categories represented.”
The court also rejected the expert report’s conclusion regarding the amount of shared expenses
because it “did not show how ‘each item of general expense contributed to the production of the
infringing items in issue and offer a fair and acceptable formula for allocating a given portion of
overhead to the particular infringing items at issue.’ "

The K4K expenses on its Form 990, which Mr. Hall failed to present or analyze, provide valuable
information that a damages expert and the trier of fact would find useful in determining which
expenses should be deducted or excluded. These expenses from K4K’s 2016 Form 990 are
presented in the following table and are further analyzed below.




13 Hall report, ¶27 and Attachment 1.
14 Hall report, ¶27.
15 See Banjo Buddies supra; see also, Duro Co. of Ohio v. Duro Co. of New Jersey, 56 F.2d 313, 315–16 (3d Cir.

1932): “It can be fairly said that large items of attempted charges against profits and large items of alleged
depreciation should be itemized and should not be excepted [deducted], if generalized.”

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                    Table 2 – 2016 K4K Form 990 – Statement of Functional Expenses
                                          (A)           (B)            (C)         (D)
                                         Total        Program     Management
                                       Expenses       services    and general   Fundraising
        Grants - Domestic                     $ 18,262,163       $ 18,262,163            -              -
        Grants - Foreign                           200,458            200,458            -              -
        Officers compensation                      260,077             98,525      109,965         51,587
        Other salaries & wages                   2,881,559            413,252    1,222,977      1,245,330
        Payroll taxes                              360,243             97,266      133,290        129,687
        Legal                                      557,073                  -      557,073              -
        Accounting                                  81,312                  -       81,312              -
        Advertising and promotion               17,880,457          2,769,881       81,472     15,029,104
        Office expenses                            440,943            135,682      202,624        102,637
        Information technology                      59,396                  -       59,396              -
        Occupancy                                   22,213              2,579       17,943          1,691
        Travel                                      15,724                  -       15,724              -
        Depreciation                                 3,641              1,274        1,566            801
        Insurance                                   45,136                  -       45,136              -
        Subscriptions                               84,247                  -       84,247              -
        Merchant fees                               78,986                  -       78,986              -
        Repairs and maintenance                     45,990             16,097       19,776         10,117
        Licenses and permits                        40,365                  -       40,365              -
        Other expenses                              19,958             19,958            -              -
           Total                              $ 41,339,941       $ 22,017,135   $ 2,751,852   $ 16,570,954


Per the Form 990 instructions, Column (B)–Program Services “are mainly those activities that
further the organization's exempt purposes,” 16 which K4K reported in Part III of Form 990 as:
“educational, developmental, and recreational programs for Jewish youth and their families.”
Based on this description, these expenses did not contribute to K4K’s generation of car donation
revenue and should therefore not be deducted. Certainly, Domestic and Foreign Grants totaling
$18.5 million are wholly unrelated to K4K’s vehicle-donation fundraising function and should be
excluded from deductions. Mr. Hall acknowledged this very fact in his apportionment calculation
wherein he excluded grants from total expenses “to determine what portion of Kars 4 Kids
operational expenditures represents advertising in a fundraising capacity.” 17 The same treatment
should apply to the more than $600,000 in compensation/salary/payroll tax expenses K4K spends
in running and managing its charitable programs, which is distinct from running and managing its
vehicle-donation arm, the expenses of which are shown in Column (D) Fundraising. Likewise, the
$2.8 million in advertising expense relating to its charitable programs (e.g., brochures for summer

16 https://www.irs.gov/pub/irs-pdf/i990.pdf
17 Hall report, ¶¶32, 33.



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camps, ads for educational programs, etc.) are irrelevant to and do not support K4K’s vehicle-
donation operations and should not be deducted from revenues. Indeed, all Program Services
expenses in Column (B) are required by the IRS to be specifically segregated into that category
because they support K4K’s charitable programs and not its vehicle-donation fundraising
activities. Therefore, none of the Column (B) expenses should be deducted from vehicle-donation
fundraising revenues.

Here is another way to look at relevant expenses. K4K is a charitable entity that has two main
functions or business segments – (1) its fundraising function, which consists primarily of obtaining
donated vehicles and selling them for a profit, and (2) its program services function, which consists
of using the profits from fundraising for its charitable programs. If it were a for-profit entity whose
primary business was obtaining donated vehicles and selling them for a profit, those profits would
be paid to the owners or shareholders instead of being expended on non-business-related
charitable programs. Any charitable causes it elected to spend its income on (a common expense
item for most for-profit businesses) would not be deducted in an accounting of Defendant’s Profits
because charitable expenses are a discretionary expense that do not contribute to the business’s
sales and profits. Therefore, regardless of whether K4K is a non-profit entity, it does not make
sense to deduct the profits it expends on its charitable programs or the expenses it incurs in
running those programs because those expenditures do not contribute to the generation of the
infringing revenue. In sum, any expenses that do not contribute to fundraising, or revenue
generation, should not be deducted from revenue.

Per the Form 990 instructions, Column (C)–Management and General expenses “relate to the
organization's overall operations and management, rather than to fundraising activities or
program services. Overall management usually includes the salaries and expenses of the
organization's chief executive officer and his or her staff, unless a part of their time is spent directly
supervising program services or fundraising activities. In that case, their salaries and expenses
should be allocated among management, fundraising, and program services.” These general
overhead expenses – such as officer salaries, legal and accounting expense, and office rent –
are the general shared expenses that support the overall organization. But because the overall
organization consists of two main segments – its fundraising function and program services
function, these expenses should be allocated between the two segments, if they are to be
deducted at all. The Banjo Buddies court rejected the conclusion of the defendant’s expert report
regarding the amount of shared expenses because it “did not show how ‘each item of general
expense contributed to the production of the infringing items in issue and offer a fair and
acceptable formula for allocating a given portion of overhead to the particular infringing items at
issue.’ "

A number of court cases describe allocation methods for general overhead expenses such as
these, which are typically allocated based on infringing-product revenue. 18 Because there is no

18 See, e.g. Duro Co. of Ohio v. Duro Co. of New Jersey, 56 F.2d 313, 315–16 (3d Cir. 1932). Carter Products, Inc. v.

Colgate-Palmolive Co., 214 F.Supp. 383, 406-07 (D.Md.1963).

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revenue associated with K4K’s charitable program segment, general overhead expenses can be
allocated based on the direct expenses of the two operating segments (Columns B and D), as
shown in the following table.

               Table 3 – Allocation of K4K Management and General Expenses ($000’s) 19
               (B)         (C)           (D)       (E=B+D)      (F=B/E)    (G=D/E)     (H=CxG)          (I=D+H)
                          Mgt. &                                Program      Fund-        M&G         Fundraising
           Program       general       Fund-      Allocation    services    raising   allocated to   with allocated
  Year     services      (M&G)        raising        Base          %           %      Fundraising         M&G
 2008       $ 14,634        $ 350      $ 7,507     $ 22,142         66%         34%         $ 119           $ 7,626
 2009         15,469          389        7,658        23,127        67%         33%           129             7,787
 2010         21,415          642        9,075        30,491        70%         30%           191             9,266
 2011         20,339          805       10,048        30,387        67%         33%           266            10,314
 2012         18,745          890        9,154        27,900        67%         33%           292             9,446
 2013         18,019          982        8,668        26,687        68%         32%           319             8,987
 2014         19,482        1,441        9,918        29,400        66%         34%           486            10,404
 2015         23,520        2,527       13,110        36,630        64%         36%           905            14,015
 2016         22,017        2,752       16,571        38,588        57%         43%         1,182            17,753
 Total     $ 173,640     $ 10,778     $ 91,711    $ 265,351                                $3,888          $ 95,599



Per the Form 990 instructions, Column (D)–Fundraising expenses “are the expenses incurred in
soliciting cash and noncash contributions, gifts, and grants.” Based on this description, these
expenses directly relate to the generation of vehicle-donation revenue, and could properly be
deducted from claimed revenues. The largest expense in this category is Advertising and
promotion of $15.0 million (see Table 2), which would include use of the infringing mark. Some
courts have held that expenses incurred in advertising the infringing mark will not be deducted. 20
Nevertheless, assuming all Column (D) expenses and the portion of Column (C) expenses
allocated to Column (D) above are legitimate deductions, Defendant’s Profits are summarized
below.




19 K4K IRS Form 990 for years 2008-2016
20 Weil, Roman, et al. Litigation Services Handbook, 4th Edition (2007), p 20•29.



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                              Table 4 – Calculation of Defendant’s Profits
                                                         Less        Defendant’s
                      Year           Revenue 21     Fundraising 22      Profits
                      2008           $ 23,003,060      $ 7,625,989   $ 15,377,071
                      2009             24,653,912        7,787,287      16,866,625
                      2010             29,130,893        9,266,388      19,864,505
                      2011             29,976,125       10,314,006      19,662,119
                      2012             26,964,821        9,446,363      17,518,458
                      2013             28,229,162        8,987,289      19,241,873
                      2014             34,756,266       10,404,266      24,352,000
                      2015             39,071,455       14,014,932      25,056,523
                      2016             44,383,024       17,752,687      26,630,337
                      2017 23          48,007,066       19,202,261      28,804,805
                      2008-2017     $ 328,175,784 $ 114,801,468 $ 213,374,316


The above measure of Defendant’s Profits is more reasonable than Mr. Hall’s measure, which
simply accepts all of K4K’s reported expenses as deductions without any analysis or support and
results in profit of only 1.4% of revenue. In Banjo Buddies, the Third Circuit found that defendant
expert’s “’bottom line’ lacks credibility” because it showed no profits after deducting costs.
Similarly, Mr. Hall’s insignificant bottom line, which includes four years of losses out of a nine-
year period, lacks credibility.

In addition to improperly deducting expenses that do not relate to the company’s revenue-
generating fundraising segment, Mr. Hall improperly offsets total profits with four years of losses. 24
In an authoritative text on trademarks, McCarthy on Trademarks, the author observes, “Where,
during the infringement period, defendant has some loss years and some profit years, the Ninth
Circuit has held that defendant is not entitled to set off loss years against profit years, but must
account to plaintiff for profits made in any one year.” 25 Various Third Circuit cases advocate a
similar approach. 26

An alternative measure of K4K’s profit is the grant funds it provides to charitable organizations,
as this amount is an indication of the funds it has available to donate after paying all its operating
expenses required to generate those funds. The primary recipient of these funds is K4K’s sister
company, Oorah, as shown in the following table.


21 Total Contributions and Grants as listed on Form 990.
22 See Table 3, column I
23 2017 revenue estimated by applying latest 5-year (2011-2016) CAGR (8.2%) to 2016 revenue. 2017 fundraising

estimate based on 2016 fundraising w/allocated M&G (see Table 3) divided by 2016 revenue and multiplied by
estimated 2017 revenue.
24 Hall report, Attachment 1.
25 McCarthy on Trademarks and Unfair Competition, Third Ed. (1995), p. 30-111.
26 Jones Apparel Group, Inc. v. Steinman, 466 F.Supp. 560, 563 n. 4 (E.D. Pa. 1979). Carter Products, Inc. v.

Colgate-Palmolive Co., 214 F.Supp. 383, 406-07 (D.Md.1963). MacBeth Evans Glass Co. v. L. E. Smith Glass Co.,
21 F.2d 553, 555 (W.D.Pa.1927).

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                                 Table 5 – Oorah Income from Kars 4 Kids
                                               Domestic
                                                 Non-        Non-        Total Grants
                  Year           Oorah 27      Oorah 28    Domestic 29    from K4K
                  2008         $ 14,520,000        $ 4,800            -   $ 14,524,800
                  2009           12,700,000              -            -     12,700,000
                  2010           19,487,834              -            -     19,487,834
                  2011           18,118,906              -            -     18,118,906
                  2012           14,484,318              -            -     14,484,318
                  2013           12,601,932              -            -     12,601,932
                  2014           13,058,550       721,789             -     13,780,339
                  2015           17,196,997        88,254      95,044       17,380,295
                  2016           18,262,163              -    200,458       18,462,621
                  2017 30        19,753,338                                 19,753,338
                  Total       $ 160,184,038     $ 814,843   $ 295,502 $ 161,294,383

Based on the above measures in Tables 4 and 5, K4K’s revenue from its vehicle-donation
program, less related expenses – i.e., Defendant’s Profits per the Lanham Act – are $161.3
million to $213.4 million.

Apportionment of Defendant’s Profits

While the Lanham Act does not specifically mention apportionment, many courts have addressed
it in Lanham Act decisions. 31 As discussed in McCarthy on Trademarks, apportionment in this
context means “the infringer’s burden to prove the proportion of his total profits which may not
have been due to use of the infringing mark.” 32 McCarthy cites the U.S. Supreme Court on this
issue, which concluded that: “[A] sufficient reason for not requiring complainant in the present
case to make an apportionment between the profits attributable to defendant’s use of the
offending mark and those attributable to the intrinsic merit of defendant’s shoes is that such an
apportionment is inherently impossible.” 33 He follows with a similar California Supreme Court
opinion:

         The difficulty lies in ascertaining what proportion of the profit is due to the
         trademark, and what to the intrinsic value of the commodity; and as this cannot be
         ascertained with any reasonable certainty, it is more consonant with reason and

27 K4K IRS Form 990, Schedule I
28 Difference between K4K IRS Form 990, Part IX, Line 1 and grants to Oorah in previous column.
29 K4K IRS Form 990, Part IX, Line 3
30 2017 K4K grants to Oorah estimated based on 2016 K4K grants to Oorah divided by 2016 total revenue and

multiplied by estimated 2017 revenue in Table 4 ($19,753,338 = 18,262,163 / 44,383,024 x 48,007,066)
31 Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1408 (9th Cir. 1993); see also, e.g., Holiday Inns, Inc. v. Airport

Holiday Corp., 493 F. Supp. 1025 (N.D. Tex. 1980), aff’d, 683 F.2d 931 (5th Cir. 1982); Int’l Star Class Yacht Racing
Ass’n v. Tommy Hilfiger U.S.A., Inc., No. 94-CIV-2663(RPP), 1999 WL 108739, at *4 (S.D.N.Y. Mar. 3, 1999), on
remand from 146 F.3d 66 (2d Cir. 1998), aff’d, No. 99-7329, 2000 WL 220504 (2d Cir. Jan. 12, 2000).
32 McCarthy, p. 30-102.
33 Hamilton-Brown Shoe Co. v. Wolf Bros. & Co., 240 U.S. 251, 60 L. Ed. 629, 36 S.Ct. 269 (1916) (as cited in

McCarthy supra).

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           justice that the owner of the trademark should have the whole profit than that he
           should be deprived of any part of it by the fraudulent act of the defendant. 34

McCarthy goes on to say: “But if the infringer can prove a fair basis of apportionment, then profits
awarded will be apportioned according to the effect the infringement had on the infringer’s
sales.” 35

Mr. Hall claims to have “apportioned Kars 4 Kids $4.040 million of vehicle donation revenues less
expenses,” although he does not say what he is apportioning it to. 36 The purpose of
apportionment, as explained above, is to determine the amount of the infringer’s profits
attributable to the alleged infringement versus other factors. Therefore, assuming Mr. Hall
understands this, because his apportionment calculation is based on the ratio of K4K’s advertising
expense incurred in its fundraising segment divided by its total reported expenses, less grants
paid to charities, he is implicitly acknowledging that all advertising and promotion done for
fundraising (i.e., to solicit vehicle donations) was allegedly infringing. This assumption is
consistent with Esti Landau’s deposition testimony that almost all the advertising expense for
fundraising related to the alleged infringing Mark. 37

Although he never explains it, Mr. Hall’s apportionment calculation, what he terms the “Advertising
for Fundraising Ratio,” appears to be based on the following logic: K4K spends X dollars operating
the company (total functional expenses less grants), and its alleged infringing advertising
(advertising expense for fundraising) makes up Y dollars of those operations; therefore, the
resulting ratio of Y/X reflects the infringing activity as a percent of the company’s total operating
activity. This apportionment calculation is mechanically incorrect, as it is comparing expenses
from unrelated operating segments. The denominator – which he calculates as total functional
expenses less grants – reflects more than the company’s operating expenses of its fundraising
segment. He appropriately deducted grants – which, as discussed above, do not generate
revenue – from the denominator but failed to remove all other non-fundraising-related expenses.
Thus, he has a mismatch between advertising expense for the fundraising function on one hand,
and operating expense that still includes program services on the other. 38 Because K4K revenue
is only generated from the company’s fundraising segment, only expenses from that segment
should be included in his apportionment denominator to avoid the mismatch, as shown in the
table below.




34 Graham v. Plate, 40 Cal. 593 (1871) as cited in McCarthy.
35
     McCarthy, p. 30-104.
36 Hall report, ¶31.
37 Landau deposition, pp. 27-32
38 I understand that per Note 4 of K4K’s 2016 audited financial statements that K4K does some “joint” advertising that

includes both segments and therefore allocates those joint advertising costs, which shows that K4K understands the
necessity of allocating its advertising expense to fundraising versus the other segments.

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                             Table 6 – Corrected Apportionment Calculation 39
                                                     - Incorrect -      - Correct -
                                                       K4K Total
                                                      Functional         K4K Total
                                 K4K Advertising    Expenses Less     Expenses for
                   Year          for Fundraising         Grants       Fundraising 40
                   2008                  $ 6,838,060         $ 7,966,390           $ 7,625,989
                   2009                    6,760,187          10,816,616             7,787,287
                   2010                    7,954,302          11,645,143             9,266,388
                   2011                    9,151,788          13,072,372            10,314,006
                   2012                    8,560,901          14,305,475             9,446,363
                   2013                    7,982,919          15,066,952             8,987,289
                   2014                    9,048,707          17,060,400            10,404,266
                   2015                  11,859,532           21,777,117            14,014,932
                   2016                  15,029,104           22,877,320            17,752,687
                   Total            $ 83,185,500 (a)    $ 134,587,785 (b)      $ 95,599,207 (c)
                                                                   (a / b)               (a / c)
                   Allocation %                                    61.8%                87.0%



      B.     Support for “First to Market Analysis”

In my original report, I performed an analysis which demonstrated that America Can “preceded
K4K in most states (based on when an organization first reported donations) …” 41 Mr. Hall
criticizes this analysis but provides no alternative analysis or rationale as to why it is
inappropriate—other than to state his opinion that it somehow constitutes a legal opinion
regarding when the trademark is first used. Mr. Hall’s assumption is incorrect, as I never stated
that first-reported donations equated to first use of the trademark (although it is reasonable to
assume such events would be closely correlated). My analysis simply demonstrated who was first
in the car donation market based on earliest reported donations, and that K4K surpassed America
Can in the number of donations in each state, except for Texas, soon after its entry. Because
America Can’s first donations in each state were generally two or more years in advance of K4K’s
(five years on average), it is reasonable to conclude that America Can entered the market first
and used the mark first in those states. For Mr. Hall’s criticism to be valid, he would need to show
evidence that K4K began using the mark first but was unable to obtain a single donation for two
or more years thereafter.




39 Source: Kars 4 Kids Form 990’s
40 Source is Table 4, Fundraising column that includes both Fundraising expense and allocated Management and

General expense.
41 Cook report, p. 6. My statement that “CFK began using the Mark first” is independent of my analysis of who

preceded whom in donations in each state. “First use” is a liability assumption that I am accepting from counsel.

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       C.     Impact of K4K on America Can’s Sales

Mr. Hall repeats the same argument raised in his Opinion 1, criticizing my opinion that “K4K’s
market entry and growth in each of CFK’s markets, along with its high advertising spend, likely
had an effect on CFK’s donations and inability to return to previous levels.” 42 As stated above, I
do not ignore the impact of other factors on America Can’s donations, which is the primary reason
I was unable to perform a calculation of America Can’s actual lost-donations damages and which
is a common situation in trademark matters. My response here, as above, is that it is inescapable
that K4K’s entry into the vehicle-donation market took donations that otherwise would have gone
to America Can. Mr. Hall has done nothing to invalidate that conclusion. He has attempted to
show that other factors contributed to America Can’s loss of sales and market share, or that
America Can has performed well against the market, as though he were rebutting an actual-
damages lost-profits analysis, which is not relevant here. But other than his simplistic
apportionment calculation discussed above, he has failed to meet defendant’s burden to
demonstrate what portion of K4K’s revenues relate to the alleged infringement versus other
factors. Nevertheless, I will address the factors he cites as having an impact on America Can’s
donations.

Other Car-Donation Charities

Mr. Hall points out that other car-donation charities were in the vehicle-donation market,
“potentially impacting AC’s market share,” and that “This is a factor that likely impacted AC’s
donations, other than Kars 4 Kids’ alleged use of the mark, that Mr. Cook ignores.” 43 While Mr.
Hall exhibits no qualms using the words “potentially” and “likely” in his opinions, the results of his
market-share analysis – in which he notably left out the shares of K4K and the rest of the market
– indicate something different, as shown in the following table.




42 Hall report, ¶¶38, 39.
43 Hall report, ¶¶40, 41.



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                          Table 7 – Donated Vehicles – Market Share Over Time
                        U.S.                            All       AC       K4K                       All others
          Year          Total      AC       K4K       Others    Share     Share                        Share
          2004         970,516       15,334                                    1.6%
          2005         325,372       11,503                                    3.5%
          2006         318,498       13,835                                    4.3%
          2007         343,202       14,757                                    4.3%
          2008         271,136       14,300                                    5.3%
          2009         213,833       14,483                                    6.8%
          2010         193,531         9,471                                   4.9%
          2011         190,539         7,811                                   4.1%
          2012         164,449         7,391                    1              4.5%
          2013         146,274         7,436                                   5.1%
          2014         176,970         7,819                                   4.4%
       Market share increase/decrease, 2004-2014                             + 2.8%
       Percentage change in market share, 2004-2014                           180%
       2014 market share without K4K (assuming K4K
       donations split pro rata between AC and All others)                     8.2%         -

As shown above, America Can’s market share more than doubled (180% increase) over the 10-
year period, 2004 to 2014, while the “All others” market share
                                                                         and became the dominant
                                                                        44
player in the vehicle-donation market, as shown in the following chart.




44 See Attachment C for source numbers. The “All others” in this chart differs from that in the table above it due to

breaking out Wheels for Wishes from All others in the chart.

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As shown in Table 7 above, without K4K in the market, and allocating its donations between
America Can and All others, America Can’s 2014 market share would almost double, from 4.4%
to 8.2%. These market share changes, along with the other similarities between K4K and America
Can, indicate that K4K likely took share from America Can and All others, as well as potentially
increased the total market. However, the numbers alone do not provide the basis to conclude, as
Mr. Hall erroneously does, that All others took share from America Can.

Mr. Hall makes at least six references to America Can’s increase in donations and outperforming
the market. 45 With this heavy emphasis on America Can’s donation performance, he appears to
imply that simply because its market share increased, it was not affected by K4K’s dominating
market presence. He fails to acknowledge that America Can’s donations and market share could
have been higher absent K4K’s market entrance and use of the mark. As discussed above, given
the similarity of their markets, services, charitable focus, etc., it would be implausible to assume
that America Can did not lose some market share to K4K.

Advertising Spend

Mr. Hall takes issue with the findings from my analysis that shows that, while America Can was
first to market in 42 of 51 states (by two or more years in 40 states), K4K surpassed America
Can’s donation level in each state generally within one to two years of its entry and came to
dominate the market. 46 And as shown in Table 2 of my previous report, K4K far surpassed
America Can in advertising spend.

Despite these findings, Mr. Hall appears to be arguing that K4K had no impact on America Can’s
donations in states outside of Texas. He also states that “It is reasonable to conclude that AC’s
decision to reduce its advertising spending impacted its vehicle donations.” 47 While it may be
reasonable to draw that conclusion, another reasonable conclusion is that as K4K came to
dominate the market while using the infringing Mark in its advertising, and America Can’s vehicle
donations declined to generally less than 10 units per state outside of Texas, it made financial
sense for America Can to reduce its advertising spending—especially if it believed marketplace
confusion was diverting donations to K4K and damaging America Can’s reputation and good will.

Mr. Hall stated that K4K’s advertising expense per donated vehicle is much less than that of
America Can. He did not indicate what point he was trying to make with this observation or how
it supported his opinions. However, his analysis failed to consider the value of donations received
and was focused only on units. K4K may receive more vehicle donations than America Can and
have a lower advertising spend per unit, but its average revenue per vehicle is generally less than
half that of America Can’s, as shown below.




45 Hall report, ¶¶46-49.
46 Cook report, Table 3.
47 Hall report, ¶53.



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                                Table 8 – Average Revenue per Vehicle 48
                                  Year               AC            K4K
                                  2008             $ 693          $ 305
                                  2009               639            278
                                  2010               862            388
                                  2011             1,020            529
                                  2012             1,082            495
                                  2013             1,011            430
                                  2014             1,033            427
                                  2015               863            427
                                 Average           $ 900           $410


Mr. Hall states that the inability of the overall vehicle-donation market and America Can to recover
their pre-recession level of donations “suggests that Kars 4 Kids’ advertising is more effective on
a dollar-for-dollar basis than AC’s advertising for reasons unrelated to the use of the [Marks]…” 49
This opinion is purely speculative, as he has provided no evidence to support how donors and
prospective donors respond to the Mark versus other aspects of the advertising done by the
parties (e.g., the K4K “jingle”).

Reliance on a Spurious Website

In an apparent attempt to show why donors might prefer K4K over America Can, Mr. Hall cites a
single website, donationstips.com, that has eight different “top” or “best” lists for car donation
charities, including “Top 6 Charities to Donate a Car in Denver” (or Los Angeles, or Sacramento,
or New York, etc.). Mr. Hall only referred to the “The 6 Best Car Donation Charities in the US” list,
which happens to include K4K at number six. But he failed to mention that, somewhat confusingly,
none of the other “top” or “best” lists by city on the site include K4K. He also failed to mention that
“The 4 Most Reputable Car Donation Charities” articles on the website included America Can but
not K4K.

From the “Best” list article cited by Mr. Hall, he quoted four alleged “additional benefits” offered
by K4K “in contrast with other non-profits that accept vehicles.” However, he failed to do any
research showing (or simply opted not to disclose) that America Can offers the same or better
benefits, as summarized below.




48 See Attachment C for source numbers.
49 Hall report, ¶57.



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                                   Table 9 – Comparison of “Benefits”
          K4K Benefits from Article                                America Can Benefits 50
 They can pick up a car donation without a       Same. But K4K subcontracts this out whereas America
 title with some additionally signed             Can does its own title work. Also, America Can can do
 paperwork.                                      same-day pickup.
 The donor does not need to be present at        Same
 the time of the pick-up of the donated car.
 Towing representatives from all 50 states,      Same
 licensed and insured.
 The donor will get a 3-day, 2-night hotel       Since this has caused many complaints for both parties,
 voucher with its donation.                      America Can now offers a $50 Visa gift card, or Texas
                                                 Ranger tickets when in season.
                       --                        Platinum badge from Guidestar.org
                                                 (https://www.guidestar.org/profile/XX-XXXXXXX)
                       --                        2017 Top-Rated Nonprofit from Greatnonprofits.org
                                                 (https://greatnonprofits.org/awards/search/search:cars+for+kids)


In addition to Mr. Hall’s biased and selective disclosure of information from this website, he failed
to do any due diligence to test the legitimacy and integrity of the site or its creator. The “about”
section tells nothing about the entity that created the site or more importantly the criteria that it
uses to rank its “best” charities or a statement representing its independence, i.e., whether it
receives any remuneration from organizations featured in the lists (which is often the case with
these kinds of review sites 51).

I checked the website registration and found that it was registered to Felix Ocampo Luces, and
the registrant organization was Grupo FLX CA in Caracas, Venezuela. 52 The registrant address
could not be found on any online maps. However, Grupo FLX CA has a website with phone
numbers and an email address (no physical address). It appears to be a family-owned business
in Caracas that provides road and construction signage. Felix Ocampo Luces (the name “felixol”
also appears on the donationstips.com website) is a young man currently studying languages in
Hangzhou, China. 53 We sent emails to Felix’s personal email address (provided by his mother)
and to the email address shown on donationstips.com asking about the website content and
sponsorship and have not received any reply, which along with the other findings strongly
indicates that the website is a sham. Mr. Hall’s reliance on this website shows lack of
independence and due care expected of an independent expert.



50 From America Can website; information provided by America Can’s COO, Malcolm Wentworth; other sources as

noted.
51 See, e.g., https://www.theguardian.com/money/2013/jan/26/fake-reviews-plague-consumer-websites
52 Website registration search from https://www.godaddy.com/whois
53 This according to his mother—who answers the phone at Grupo FLX—and according to Felix’s Facebook page.



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Furthermore, while Mr. Hall touted the one positive website he found, he neglected to mention all
the negative attention K4K has received over the years, which tends to invalidate the point he
was trying to make even if donationstips.com were a legitimate source. 54

      D.     Mischaracterization and/or Misunderstanding of Liability Assumption
             and Marketplace Confusion

Mr. Hall claims that my statement, “K4K has spent over $75 million in advertising that wrongfully
used the Mark from 2004 through 2014,” is a legal conclusion. 55 Interestingly, Mr. Hall’s own
apportionment calculation implicitly assumes that K4K’s advertising in fundraising is infringing
(assuming he understands that the purpose of an apportionment calculation is to apportion
revenue to infringing actions versus other factors). When damages experts perform their analysis
of damages, they presume liability, which, in this case, is that K4K’s use of the term “KARS 4
KIDS” is wrongful use. As a damages expert I offer no legal opinion regarding infringement or
confusion.

Mr. Hall made several repetitive criticisms of my reference to K4K documents that indicate
confusion in the marketplace and by donors. 56 He mistakenly believes or purposely misconstrues
this evidence to mean that I was using it to show “examples of diverted donations.” My intent was
simply to show examples of confusion in the marketplace, which Mr. Hall apparently does not
understand the purpose of in trademark cases. 57 Regardless, as stated above, I am not opining
on or providing any analysis of confusion, but in this instance simply observing that the record
shows it existed.


54 Here are a few examples:

   • K4K Management presentation entitled, “Points of Negativity,” K4K0113205 reputation-C2.pdf
   • Minnesota Compliance Review, CAN-0017925-84
   • BBB Report: K4K0551845-49
   • D Rating by Charity Watch: https://www.charitywatch.org/ratings-and-metrics/kars4kids/757
   • Costly and Continuous Kars4Kids Ads Disguise Charity’s Real Purpose:
     https://www.charitywatch.org/charitywatch-articles/costly-and-continuous-kars4kids-ads-disguise-charity-39-s-
     real-purpose/179
   • Catchy Jingle Not a Green Light to Donate: https://www.charitywatch.org/charitywatch-articles/catchy-jingle-not-
     a-green-light-to-donate/92
   • Kars4Kids is questioned by charity watchdogs: http://www.startribune.com/kars4kids-is-questioned-by-charity-
     watchdogs/136191368/
   • Dedicated blog to report K4K alleged scams: http://kars4kids-scam.blogspot.com/
   • K4K Misleading Free Vacation Offer with Donation per Ripoff Report: https://www.ripoffreport.com/reports/kars-4-
     kids/lakewood-new-jersey-08701/kars-4-kids-misleading-free-vacation-offer-with-donation-lakewood-new-jersey-
     263345.
55 Hall report, ¶61. To the extent the portion of K4K’s total advertising expense of $75 million in program services and

management does not use the “Kars 4 Kids” Mark, there would clearly be no wrongful use of the Mark associated
with that portion of the total advertising expense.
56 Hall report, ¶¶23, 59, 62.
57 See, e.g., Interpace Corporation v. Lapp, Inc., 721 F.2d 460 (3d Cir. 1983): “The law of trademark protects

trademark owners in the exclusive use of their marks when use by another would be likely to cause confusion. Where
the trademark owner and the alleged infringer deal in competing goods or services, the court need rarely look beyond
the mark itself.”

                                                          17
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Mr. Hall also criticized my mention of a corrective advertising approach to damages because I did
not identify a methodology for making that determination. One methodology for quantifying such
damages would be to assume that American Can would be required to spend the same amount
on fundraising advertising as K4K to correct confusion in the marketplace and reinstate itself in
the public eye as owner of the Mark. That measure for the nine-year period, 2008 to 2016, based
on K4K’s advertising expense for fundraising totals $83.2 million (see Table 6 above).



                                               _______________________
                                                Bryce R. Cook




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 EXPERT REPORT

                                               ATTACHMENT A

                                          Documents Considered
                                         (Added since original report)

    •   Expert report of David Hall dated February 15, 2018
    •   Expert report of Melissa A. Pittaoulis dated February 15, 2018
    •   America Can Cars for Kids 2015 Form 990
    •   America Can (dba Texas Can) 2015 Form 990
    •   Car Donation Foundation (dba Wheels for Wishes) 2010-2016 Form 990
    •   Depositions of Eliyohu Mintz, Esti Landau Highly, Malcom Wentworth, Malka Keller,
        Asher Moskovits, Cheryl Poldugrach, and Richard Marquez
    •   2003-2014 IRS Non-Cash Individual Contribution Report
    •   CAN-00178740 – CAN-00179617
    •   K4K0062233 impacts to car donations-C2.pdf
    •   K4K0113205 reputation-C2.pdf
    •   K4K0113212 2010 to 2011 msn marketing reports-C2.xls
    •   K4K0113213 2010 to 2011 msn marketing reports-C2.xls
    •   K4K0113214 2011 car donations by state-C2.xls
    •   K4K0113215 2010 to 2011 msn marketing reports-C2.xls
    •   K4K0113216 2004-2012 google ppc-C2.xls
    •   K4K0113217 2008 - 2011 online versus offline donations-C2.xls
    •   K4K0113218 2002 to 2011 reports-C2.xls
    •   K4K0113219 2010 to 2011 msn marketing reports-C2.xls
    •   K4K0113220 2008 to 2011 searches-C2.xls
    •   K4K0138532 2012 program advertising and In- kind-C2.xls
    •   https://en.oxforddictionaries.com
    •   15 U.S. Code § 1117 - Recovery for violation of rights.
    •   Dreamcatcher Software Dev., LLC v. Pop Warner Little Scholars, Inc., 298 F. Supp. 2d
        276 (D. Conn. 2004
    •   Banjo Buddies, Inc. v. Joseph F. Renosky, Appellant, 399 F.3d 168 (3d Cir. 2005)
    •   Venture Tape Corp. v. McGills Glass Warehouse, F.3d 56 (1st Cir. 2008)
    •   Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1408 (9th Cir. 1993)
    •   Bandag, Inc., 750 F.2d at 918.
    •   Playboy Enterprises v. PK Sorren Export Co., 546 F. Supp. 987 (S.D. Fla. 1982)
    •   Duro Co. of Ohio v. Duro Co. of New Jersey, 56 F.2d 313, 315–16 (3d Cir. 1932)
    •   https://www.irs.gov/pub/irs-pdf/i990.pdf
    •   Carter Products, Inc. v. Colgate-Palmolive Co., 214 F.Supp. 383, 406-07 (D.Md.1963)
    •   K4K IRS Form 990 for years 2008-2016
    •   Weil, Roman, et al. Litigation Services Handbook, 4th Edition (2007)
    •   McCarthy on Trademarks and Unfair Competition, Third Ed. (1995), p. 30-111.
    •   Jones Apparel Group, Inc. v. Steinman, 466 F.Supp. 560, 563 n. 4 (E.D. Pa. 1979).
    •   MacBeth Evans Glass Co. v. L. E. Smith Glass Co., 21 F.2d 553, 555 (W.D.Pa.1927).
    •   Holiday Inns, Inc. v. Airport Holiday Corp., 493 F. Supp. 1025 (N.D. Tex. 1980), aff’d, 683 F.2d 931 (5th Cir.
        1982)




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    •   Int’l Star Class Yacht Racing Ass’n v. Tommy Hilfiger U.S.A., Inc., No. 94-CIV-2663(RPP), 1999 WL
        108739, at *4 (S.D.N.Y. Mar. 3, 1999), on remand from 146 F.3d 66 (2d Cir. 1998), aff’d, No. 99-7329, 2000
        WL 220504 (2d Cir. Jan. 12, 2000).
    •   Interpace Corporation v. Lapp, Inc., 721 F.2d 460 (3d Cir. 1983):
    •   https://www.guidestar.org/profile/XX-XXXXXXX
    •   https://greatnonprofits.org/awards/search/search:cars+for+kids
    •   https://www.theguardian.com/money/2013/jan/26/fake-reviews-plague-consumer-
        websites
    •   https://www.godaddy.com/whois
    •   American Can Website
    •   Kars4Kids website




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America Can! v. Kars 4 Kids                                                                                                                                       Attachment B
Market Share Analysis

                                                                                                             Allocation of K4K Units to America Can and All Others
                                                                                                Market Share          Allocation of       But-for Market with K4K Units Allocated
                        Unit Donations (1)                          Market Share            [AC & All Others Only]     K4K Units            Unit Donations            Market Share
  Year     U.S. Total     AC       K4K       All Others      AC        K4K     All Others      AC        Others       AC      Others    AC      Others      Total      AC      Others
  2004       970,516     15,334                             1.6%
  2005       325,372     11,503                             3.5%
  2006       318,498     13,835                             4.3%
  2007       343,202     14,757                             4.3%
  2008       271,136     14,300                             5.3%
  2009       213,833     14,483                             6.8%
  2010       193,531      9,471                             4.9%
  2011       190,539      7,811                             4.1%
  2012       164,449      7,391                             4.5%
  2013       146,274      7,436                             5.1%
  2014       176,970      7,819                             4.4%


Change in Market Share:
 Market share increase/decrease, 2004-2014                  2.8%
 Percentage change in market share, 2004-2014               180%




Notes:
(1) U.S. Total units per IRS Non-Cash Individual Contribution Reports
    AC units per CAN-00177453 (also known as "CFK Sales 2004 - 2017.xls")
    K4K units per K4K0089669.xls
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America Can! v. Kars 4 Kids                                                                                                                                                   Attachment C
Market Share Analysis with Wheels for Wishes

                                                                                                     Calculation of Wheels for Wishes Vehicle Donation Units
                                                                                      Calculation of American Can and Kars 4 Kids Avg. Revenue per Unit
                                                (1)                                                                                                                             (2)
                               Unit Donations                                              America Can!                      Kars 4 Kids                     Wheels for Wishes
                                                 Wheels                                                                                                                   Est. Units
                                                   for                                                      $ per                          $ per Avg. $                  (Avg. $ per
 Year    U.S. Total       AC          K4K        Wishes        All Others   Year     Revenue      Units     Unit     Revenue        Units  Unit per Unit     Revenue        Unit)
 2008      271,136       14,300                                             2008    $ 9,908,857 14,300 $ 693                                      $    499
 2009      213,833       14,483                                             2009      9,261,402 14,483        639                                      459
 2010      193,531        9,471                        3,443                2010      8,165,092 9,471         862                                      625 $ 2,153,161         3,443
 2011      190,539        7,811                       18,568                2011      7,970,247 7,811 1,020                                            775    14,381,579      18,568
 2012      164,449        7,391                       32,631                2012      7,993,764 7,391 1,082                                            788    25,724,026      32,631
 2013      146,274        7,436                       42,598                2013      7,519,794 7,436 1,011                                            721    30,707,640      42,598
 2014      176,970        7,819                       51,106                2014      8,073,314 7,819 1,033                                            730    37,305,950      51,106
 2015                     8,518                       48,199                2015      7,350,814    8,518      863                                      645    31,098,064      48,199
                                                                             Avg.                          $ 900

Market Share Percentages
                                                                                        U.S. Market Share of Donated Vehicles
                                                 Wheels                      60%
                                                   for
 Year    U.S. Total       AC          K4K        Wishes        All Others    50%
 2010      100%           5%                       2%
 2011      100%           4%                      10%
                                                                             40%
 2012      100%           4%                      20%
 2013      100%           5%                      29%
 2014      100%           4%                      29%                        30%


                                                                             20%


                                                                             10%


                                                                              0%




Notes:
(1) U.S. Total units per IRS Non-Cash Individual Contribution Reports
    AC units per CAN-00177453 (also known as "CFK Sales 2004 - 2017.xls")
    K4K units per K4K0089669.xls. Full-year 2015 donation data not available; units estimated based on IRS Form 990 non-cash donation revenue divided by 2014 avg. revenue per vehicle.
   Wheels for Wishes units based on calculated estimate (far right column)
(2) Data per IRS Form 990 filings (non-cash contribution revenue)
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                             EXHIBIT 3
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 1   IN THE UNITED STATES DISTRICT COURT
 2   FOR THE DISTRICT OF NEW JERSEY
     --------------------------------------------------x
 3   KARS 4 KIDS INC.,

 4                           Plaintiff,
 5       -vs.-

 6   AMERICA CAN!,

 7                           Defendant.
 8   Civil Action No. 14-7770
     --------------------------------------------------x
 9

10                * * * HIGHLY CONFIDENTIAL * * *
11

12                           2333 East Thomas Road
                             Phoenix, Arizona
13
                             March 15, 2018
14                           9:39 a.m.

15

16          The Videotaped Deposition of BRYCE R. COOK,
17   taken before Amy L. Zoller, a Certified Reporter,

18   Certificate No. 50911, for the State of Arizona.

19

20

21

22

23               ELLEN GRAUER COURT REPORTING CO, LLC
                   126 East 56th Street, Fifth Floor
24                     New York, New York 10022
                             212-750-6434
25                           REF: 116968
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 1   A P P E A R A N C E S:
 2

 3   ORRICK, HERRINGTON & SUTCLIFFE, LLP

 4   For Plaintiff:
 5         51 West 52nd Street

 6         New York, New York 10019-6142

 7   BY:   DAVID LITTERINE-KAUFMAN, ESQ.
 8         dlitterinekaufman@orrick.com

 9

10
11   YANAROS LAW, P.C.

12   For Defendant and the Witness:

13         15851 Dallas Parkway, Suite 600
14         Addison, Texas 75001

15   BY:   VALERIE YANAROS WILDE, ESQ.

16         valerie@yanaroslaw.com
17

18

19   DeLEON LAW GROUP

20   For Defendant and the Witness:

21         4322 Walnut Hill Lane

22         Dallas, Texas 75229-6436

23   BY:   MANUEL TORRES, JD, CPA

24         J. MANUEL TORRES-RODRIGUEZ, ESQ.

25         manny.torres@attorney-cpa.com
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 1   A P P E A R A N C E S:
 2

 3   ALSO PRESENT:

 4         Ed Kishel, Videographer
 5         Adam Ashlock, CPA

 6

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 1   ---------------------- I N D E X ----------------------
 2   WITNESS                       EXAMINATION BY                   PAGE

 3   BRYCE R. COOK                 MR. LITTERINE-KAUFMAN         6, 208

 4                                 MS. YANAROS WILDE                 206
 5

 6

 7   ------------------- E X H I B I T S -------------------
 8   DESCRIPTION             DESCRIPTION                        FOR I.D.

 9   Exhibit 1               Expert Report 01/16/18                   11

10   Exhibit 2               Expert Report 03/01/18                   11
11   Exhibit 3               Charts 2002-2014 Online and              86

12                           Offline All Auto Sites

13   Exhibit 4               2009 Form 990 Joy for Our                88
14                           Youth, Bates CAN-001777731

15   Exhibit 5               Rebuttal Expert Report of                97

16                           David A. Hall
17   Exhibit 6               Find Reports, K4K0085313                154

18   Exhibit 7               1989-2002 Old Database,                 175

19                           Bates CAN-00178025

20   Exhibit 8               ND, SD, VT, Totals, Bates               180

21                           CAN-00177453

22

23                     (EXHIBITS TO BE PRODUCED)

24               (ALL EXHIBITS HIGHLY CONFIDENTIAL)

25
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 1                    COOK - HIGHLY CONFIDENTIAL
 2        Q.     America Can! saw a sharp decline in donations

 3   in 2005, correct?

 4        A.     Yes.
 5        Q.     And another sharp decline in donations in 2010,

 6   correct?

 7        A.     Yes.
 8        Q.     And America Can!'s donations then remained at

 9   low levels through 2015, correct?

10        A.     Yes.    Relative to its past, the prior years.
11        Q.     Now, you agree that factors other than Kars 4

12   Kids use of the mark caused at least some of the

13   purported losses in donations by America Can!, correct?
14        A.     Yes, I believe that's reasonable to assume.

15        Q.     Okay.       What other factors do you think caused a

16   decline in America Can!'s donations?
17        A.     Well, I haven't studied specifically causation

18   elements.    But, you know, we could -- we could assume

19   that economic factors caused decline.           In 2005, obviously

20   there was the tax change on deductibility of car

21   donations that had a big impact.         The recession and

22   subsequent higher demand for used vehicles in 2010 and

23   thereon -- thereafter had -- likely had an impact.              And

24   there could be, you know, impact from other car donation

25   organizations that participate in this market.
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 1                     COOK - HIGHLY CONFIDENTIAL
 2        Q.     Okay.       Did you do any analysis of how much any

 3   of those factors contributed to any decrease in donations

 4   to America Can!?
 5        A.     No.

 6        Q.     Do you have any opinion on how much any of

 7   those factors contributed to any decrease in donations to
 8   America Can!?

 9        A.     No.

10        Q.     One of the factors you mentioned that
11   potentially affected donations to America Can! was a

12   recession; is that right?

13        A.     Yes.
14        Q.     Okay.       And when did that recession occur?

15        A.     The recession officially, according to the

16   Bureau of Economic Analysis, started in December 2007 and
17   hit bottom in 2009.

18        Q.     Is it your opinion that the recession was, to

19   some extent, responsible for America Can!'s low levels of

20   donations in 2010 through 2015?

21        A.     I believe it would have had an impact in some

22   of the earlier years following the recession.             But, for

23   instance, when you look at America Can!, it begins to

24   recover in 2013, maybe even 2012.          Let me see one moment.

25   Did I -- Kars 4 Kids.
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 1                    COOK - HIGHLY CONFIDENTIAL
 2                So I'm looking at my chart on 7, which compares

 3   the two.     So you can see that Kars 4 Kids has a

 4   relatively big decrease in 2010, not as big as America
 5   Can!, and then another sizeable decrease in 2011, and

 6   then a very small decrease in 2012, and then begins to

 7   pick up in '13 and thereafter.
 8                Whereas, America Can!, going back to the chart

 9   on page 2, is basically flat in 2013, the year that Kars

10   4 Kids sees a sizeable increase and begins to recover.
11        Q.      Okay.      I guess I'll just ask my question again.

12   So is your opinion that the recession was partly

13   responsible for America Can!'s low level of donations in
14   2010 through 2015?

15        A.      Yes.    And as -- just to restate my answer, in

16   the early years, I believe it had more of an impact than
17   in later years when, for instance, Kars 4 Kids was

18   recovering, as well as the rest of the economy was

19   recovering.     America Can!'s donation levels still stayed

20   somewhat low.

21        Q.      And when do you think the effects of the

22   recession on America Can!'s donation levels tapered off?

23        A.      Well, if you use Kars 4 Kids as a benchmark,

24   the effects of the recession seemed to last through about

25   2012.     And then their donations shoot up again
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 1                     COOK - HIGHLY CONFIDENTIAL
 2   thereafter.

 3        Q.     Are you -- so are you giving an opinion that

 4   the effects of the recession on America Can!'s donations
 5   ended in 2012?

 6        A.     No.    I'm comparing to Kars 4 Kids to show what

 7   appears to be the effects of the recession have been
 8   overcome because Kars 4 Kids are -- their donations are

 9   growing again by 2013.       And I believe that's consistent

10   with economic indicators as well that the recovery is
11   well along on its way.       It begins in 2010, 2011 and 2012,

12   and continues to pick up.        There's some lag in the used

13   car donation market that goes beyond just the recession.
14   And I talk about those in the report as well.             But the

15   effects of the recession, at least as felt by Kars 4

16   Kids, again seems to be over by 2013.           So I would say
17   that -- that seems to be generally consistent with what's

18   going on in the economy and would likely have had

19   negligible effect, if any, on America Can! in that same

20   time frame.     So there would be other factors besides the

21   recession in 2013 that is keeping America Can!'s vehicle

22   donations at low levels.

23        Q.     Have you done any analysis of the extent to

24   which the recession caused a decline in America Can!'s

25   vehicle donation levels for any year?
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 1                    COOK - HIGHLY CONFIDENTIAL
 2        A.     Well, I looked at vehicle donations as compiled

 3   by the IRS that Mr. Hall cited in his report, and I did

 4   some additional analysis on that in my second report.                I
 5   also looked at used car sales which I cite in one of the

 6   footnotes.     Footnote 5 is an article that has used car

 7   sales and talks about the issues impacting that.
 8        Q.     Are you familiar with the term "causal

 9   relationship"?

10        A.     Yes.
11        Q.     What do you understand it to mean?

12        A.     It's cause and effect.       Something that actually

13   has a cause on -- something acts to cause an action.
14        Q.     Okay.

15        A.     A result.

16        Q.     And are you familiar with the term
17   "correlation"?

18        A.     Yes.

19        Q.     And do you understand there to be a distinction

20   between a correlation and a causal relationship?

21        A.     Certainly.

22        Q.     What is that distinction?

23        A.     Correlation means two events or two impacts may

24   occur simultaneously.       But that does not necessarily mean

25   that one was caused by the other.
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 1                    COOK - HIGHLY CONFIDENTIAL
 2   Texas then declined in 2008 through 2012; is that

 3   correct?

 4        A.     Yes.
 5        Q.     Was the decline in America Can!'s donations

 6   outside of Texas more pronounced than the decline of its

 7   donations from within Texas?
 8        A.     Yes.    Substantially so.

 9        Q.     Do you have any opinion why America Can!'s

10   donations from outside of Texas declined more sharply
11   than its donations from Texas?

12        A.     Well, one thing that we see when we look at the

13   first-to-market analysis is that -- well, see -- well,
14   America Can! was in each of these states and growing as

15   we see through 2007.       Kars 4 Kids at that same time is

16   growing at even faster rates and had by 2004 -- 2003,
17   2004, already surpassed America Can! in pretty much all

18   of the states.      So one conclusion that I would draw from

19   that is that that fact, along with the fact that Kars 4

20   Kids is spending substantially more on advertising, is

21   one cause of America Can!'s decline in those non-Texas

22   locations.

23        Q.     Now, when you say that, are you assuming that

24   Kars 4 Kids was not advertising in Texas during that

25   time?
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 1                    COOK - HIGHLY CONFIDENTIAL
 2   corresponds with K4K's growth in the same non-Texas

 3   markets.    And then in answering that when you asked me

 4   what does that mean, I said I didn't say it caused
 5   because I didn't know how much it caused.            But I did say

 6   that it's inescapable that some portion was caused,

 7   because they're in the same markets vying for a finite
 8   number of vehicles.        So if one is growing and the other

 9   is declining, then that's why I am opining in this

10   manner.
11        Q.     So you have -- you believe that Kars 4 Kids'

12   growth did cause a decline in America Can!'s donations,

13   but you have no ability to quantify the amount of that
14   decline in America Can!'s donations?

15        A.     Yes.    I've said that many times throughout the

16   deposition.
17        Q.     And so it could be one donation, for all you

18   know?

19        A.     I'm sure it's more than one.

20        Q.     What makes you sure of that?

21        A.     Because they're -- they're getting millions of

22   donations -- or I'm sorry, thousands of donations.              So I

23   would assume it's more than one.

24        Q.     Okay.       But you're assuming that.     You've done

25   no --
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 1                    COOK - HIGHLY CONFIDENTIAL
 2        A.     Right.

 3        Q.     -- analysis to support that?

 4        A.     No, I agree, there's no survey of it.           Mr. Hall
 5   or Kars 4 Kids could have conducted surveys of donors and

 6   potential donors, and they didn't do that.            So we don't

 7   have direct evidence of actual cars being diverted.              But
 8   we have markets, and we know that this is in the same

 9   market.    And, again, I can go over the factors again,

10   same advertising methods, same general charitable cause
11   to benefit kids, all of those things speak to whether

12   sales would be diverted -- or donations would be

13   diverted.
14        Q.     And just to clarify your testimony again, when

15   you say markets, you mean states, correct?

16        A.     Yeah, I'm talking about a geographic market.
17   When I say market, a geographic market.

18        Q.     As you said, you haven't done any analysis of

19   whether that's an appropriate definition of a market?

20        A.     I don't think it really matters.          I mean, if

21   you say -- if both organizations count their number of

22   donations by state, so take the state of Arizona, for

23   instance, that is a market where they put money into to

24   advertise and where they get vehicles from.            And they

25   track their donations by state.         So to me, that is a
